                                   NUMBER 13-16-00328-CV

                                   COURT OF APPEALS

                       THIRTEENTH DISTRICT OF TEXAS

                          CORPUS CHRISTI - EDINBURG


        IN THE INTEREST OF A.B., M.B., L.B., AND A.B., CHILDREN


                       On appeal from the 36th District Court
                             of Aransas County, Texas.


                               MEMORANDUM OPINION
     Before Chief Justice Valdez and Justices Garza and Longoria
                       Memorandum Opinion Per Curiam

        This is an accelerated parental termination case.                  See TEX. R. APP. P. 28.4.

Appellant M.B. attempts to appeal from a judgment entered April 28, 2016 terminating

her parental rights with respect to her children, A.B., M.B., L.B., and A.B.1 Appellant filed

her pro se notice of appeal on June 15, 2016. We dismiss the appeal for want of

jurisdiction.


        1 We will refer to the mother as M.B., in accordance with rule of appellate procedure 9.8. See
TEX. R. APP. P. 9.8(b) (providing that in a parental-rights termination case, “the court must, in its opinion,
use an alias to refer to a minor, and if necessary to protect the minor's identity, to the minor's parent or
other family member”); see also TEX. FAM. CODE ANN. § 109.002(d) (West, Westlaw through 2015 R.S.)
(“On the motion of the parties or on the court's own motion, the appellate court in its opinion may identify
the parties by fictitious names or by their initials only.”).
       The rules for accelerated appeals in civil cases govern an appeal of a final order

in suits where the termination of parental rights is in issue. See TEX. FAM. CODE ANN. §§

109.002(a), 263.405(a) (West, Westlaw through 2015 R.S.). In an accelerated appeal,

the notice of appeal must be filed within twenty days after the judgment or order is signed.

TEX. R. APP. P. 26.1(b). The appellate court may extend the time to file the notice of

appeal if, within fifteen days after the deadline for filing the notice, the party files the notice

of appeal in the trial court and files, in the appellate court, a motion for extension of time

that complies with the appellate rules and that provides a reasonable explanation for

failing to timely file his notice of appeal. Id. R. 26.3; In re K.A.F., 160 S.W.3d 923, 926–

27 (Tex. 2005); In re B.G., 104 S.W.3d 565, 567 (Tex. App.—Waco 2002, no pet.)

(determining that a reasonable explanation was given).

       On July 6, 2016, this Court notified appellant, pursuant to Texas Rule of Appellate

Procedure 42.3(a), that her notice of appeal was untimely. The Clerk of this Court informed

appellant of this defect so that M.B. could take steps to correct the defect, if it could be done.

See TEX. R. APP. P. 37.3, 42.3(b),(c). Appellant was also advised that, if the defect was

not corrected within ten days from the date of receipt of the notice, the appeal would be

dismissed for want of jurisdiction. On August 3, 2016, appellant filed an amended notice

of appeal.

       Appellant's notice of appeal was untimely, and we lack jurisdiction over this appeal.

Because this Court is not authorized to extend the time for perfecting an appeal except

as provided by Texas Rules of Appellate Procedure 26.1 and 26.3, we DISMISS the



                                                2
appeal for want of jurisdiction. See TEX. R. APP. P. 42.3(a).



                                                                PER CURIAM


Delivered and filed the
2nd day of September, 2016.




                                            3
